                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION

In the Matter of:

Julie Ann Bradley                          Case No.: 22-30657-pes
            Debtor(s)                      Chapter 7


                Order Holding Julie Ann Bradley in Contempt

      Hearing was held in South Bend, Indiana, on June 13, 2023, on the Court’s

Order to Show Cause, directing Bradley to appear and show cause, if any, why she

should not be held in contempt for violating this Court’s Order dated April 19, 2023.

Attorney Jackie Homann appears as Chapter 7 Trustee. Attorney Tamara Renner

does not appear on behalf of debtor. Julie Ann Bradley, called three times in open

court and failed to appear.

      Bradley is now held in contempt for violation of this Court’s order dated April

19, 2023 to compel turnover of bank statements showing payments made to Krisor

and Associates and Liberty Mutual, in accordance with 11 U.S.C. § 521(a)(3).


      SO ORDERED.


      Dated:    June 15, 2023
                                             Paul E. Singleton, Judge
                                             United States Bankruptcy Court
